          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CRIMINAL NO. 1:03CR50-3


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                 VS.                      )             ORDER
                                          )
                                          )
BRIDGET MILLER WILSON                     )
                                          )


     THIS MATTER is before the Court on the Defendant’s motion for

reduction of sentence, filed February 14, 2007.

     Although the Defendant is commended for her efforts at

rehabilitation, the Court has no jurisdiction to reduce or otherwise modify

her sentence under the circumstances described in the motion.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

reduction of sentence is DENIED.

                                      Signed: February 16, 2007




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